              Case 1:21-cv-00226-LY Document 1 Filed 03/11/21 Page 1 of 9



                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

 SYMBOLOGY INNOVATIONS, LLC,
                                                        Civil Action No.: 1:21-cv-226
               Plaintiff,

         v.                                             TRIAL BY JURY DEMANDED

 FIREHOUSE RESTAURANT GROUP, INC.,

               Defendant.

                       COMPLAINT FOR INFRINGEMENT OF PATENT

         Now comes Plaintiff, Symbology Innovations LLC (“Plaintiff” or “Symbology”), by and

through undersigned counsel, and respectfully alleges, states, and prays as follows:

                                   NATURE OF THE ACTION

         1.      This is an action for patent infringement under the Patent Laws of the United States,

Title 35 United States Code (“U.S.C.”) to prevent and enjoin Defendant Firehouse Restaurant

Group, Inc. (hereinafter “Defendant”), from infringing and profiting, in an illegal and unauthorized

manner, and without authorization and/or consent from Plaintiff from U.S. Patent No 8,424,752

(“the ‘752 Patent” or the “Patent-in-Suit”), which is attached hereto as Exhibit A and incorporated

herein by reference, and pursuant to 35 U.S.C. §271, and to recover damages, attorney’s fees, and

costs.

                                           THE PARTIES

         2.      Plaintiff is a Texas limited liability company with its principal place of business at

1 East Broward Boulevard – Suite 700, Ft. Lauderdale, Florida 33301.

         3.      Upon information and belief, Defendant is a corporation organized under the laws

of Florida, having a principal place of business at 12735 Gran Bay Parkway – Suite 150,



                                                   1
             Case 1:21-cv-00226-LY Document 1 Filed 03/11/21 Page 2 of 9




Jacksonville, Florida 32258. Upon information and belief, Defendant may be served with process

c/o Cogency Global Inc., 1601 Elm Street – Suite 4360, Dallas, Texas 75201.

        4.       Upon information and belief, Defendant owns, operates, or maintains a physical

presence at 4301 West William Cannon Drive – Suite 180, Austin, Texas 78749, which is in this

judicial district.

                                  JURISDICTION AND VENUE

        5.       This is an action for patent infringement in violation of the Patent Act of the United

States, 35 U.S.C. §§1 et seq.

        6.       The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§§1331 and 1338(a).

        7.       This Court has personal jurisdiction over Defendant by virtue of its systematic and

continuous contacts with this jurisdiction and its residence in this District, as well as because of

the injury to Plaintiff, and the cause of action Plaintiff has risen in this District, as alleged herein.

        8.       Defendant is subject to this Court’s specific and general personal jurisdiction

pursuant to its substantial business in this forum, including: (i) at least a portion of the

infringements alleged herein; (ii) regularly doing or soliciting business, engaging in other

persistent courses of conduct, and/or deriving substantial revenue from goods and services

provided to individuals in this forum state and in this judicial District; and (iii) having a physical

presence in this District.

        9.       Venue is proper in this judicial district pursuant to 28 U.S.C. §1400(b) because

Defendant resides in this District under the Supreme Court’s opinion in TC Heartland v. Kraft

Foods Group Brands LLC, 137 S. Ct. 1514 (2017) through its incorporation, and regular and

established place of business in this District.



                                                    2
             Case 1:21-cv-00226-LY Document 1 Filed 03/11/21 Page 3 of 9




                                  FACTUAL ALLEGATIONS

       10.      On April 23, 2013, the United States Patent and Trademark Office (“USPTO”) duly

and legally issued the ‘752 Patent, entitled “System and method for presenting information about

an object on a portable electronic device” after a full and fair examination. The ‘752 Patent is

attached hereto as Exhibit A and incorporated herein as if fully rewritten.

       11.      Plaintiff is presently the owner of the ‘752 Patent, having received all right, title

and interest in and to the ‘752 Patent from the previous assignee of record. Plaintiff possesses all

rights of recovery under the ‘752 Patent, including the exclusive right to recover for past

infringement.

       12.      To the extent required, Plaintiff has complied with all marking requirements under

35 U.S.C. § 287.

       13.      The invention claimed in the ‘752 Patent comprises systems and methods for

enabling portable electronic devices to present information about a selected object.

       14.      Claim 1 of the ‘752 Patent states:

                        “1. A method comprising:
                        capturing a digital image using a digital image capturing device that is part
                of a portable electronic device;
                        detecting symbology associated with an object within the digital image
                using a portable electronic device;
                        decoding the symbology to obtain a decode string using one or more visual
                detection applications residing on the portable electronic device;
                        sending the decode string to a remote server for processing;
                        receiving information about the object from the remote server wherein the
                information is based on the decode string of the object;
                        displaying the information on a display device associated with the portable
                electronic device.” See Exhibit A.

       15.      Claim 1 of the ‘752 Patent recites a non-abstract method for detecting symbology

with an object within the digital image. The non-abstract method further decodes the symbology


                                                  3
             Case 1:21-cv-00226-LY Document 1 Filed 03/11/21 Page 4 of 9




using a visual detection application. The non-abstract method receives information based on the

decode string of the object from the remote server.

       16.     Claim 1 of the ‘752 Patent is further directed to a functional improvement over prior

systems, solving a previous computer based, technological problem.

       17.     Claim 1 of the ‘752 Patent provides a practical application of the method.

       18.     Defendant commercializes, inter alia, methods that perform all the steps recited in

at least one claim of the ‘752 Patent. More particularly, Defendant commercializes, inter alia,

methods that perform all the steps recited in Claim 1 of the ‘752 Patent. Specifically, Defendant

makes, uses, sells, offers for sale, or imports a method that encompasses that which is covered by

Claim 1 of the ‘752 Patent.

                                 DEFENDANT’S PRODUCT(S)

       19.     Defendant offers solutions, such as a QR code associated with the website for

Firehouse-Subs (the “Accused Product”), that enables systems and methods for enabling portable

electronic devices to present information about a selected object. For example, the Accused

Product, at least in internal usage and testing, performs the method for enabling portable electronic

devices to present information about a selected object. A non-limiting and exemplary claim chart

comparing the Accused Product of Claim 1 of the ‘752 Patent is attached hereto as Exhibit B and

is incorporated herein as if fully rewritten.

       20.      The Accused Product was made by or with authorization from the Defendant.

       21.     As recited in Claim 1, a system, at least in internal testing and usage, utilized by

the Accused Product, provides a QR code. See Exhibit B.

       22.     As recited in one step of Claim 1, the system, at least in internal testing and usage,

utilized by the Accused Product practices capturing a digital image using a digital image capturing



                                                 4
             Case 1:21-cv-00226-LY Document 1 Filed 03/11/21 Page 5 of 9




device that is part of a portable electronic device. Namely, Defendant uses the camera i.e., the part

of the portable electronic device (smartphone) that captures the digital image. See Exhibit B.

       23.     As recited in another step of Claim 1, the system, at least in internal testing and

usage, utilized by the Accused Product practices detecting symbology associated with an object

within the digital image using a portable electronic device. Namely, Defendant uses a portable

electronic device (Smartphone or tablet) to detect symbology (e.g., pattern of QR code) associated

with the website of Firehouse-Subs. See Exhibit B.

       24.     As recited in another step of Claim 1, the system, at least in internal testing and

usage, utilized by the Accused Product practices decoding the symbology to obtain a decode string

using one or more visual detection applications residing on the portable electronic device. Namely,

Defendant decodes the symbology (i.e., QR code pattern) to obtain a decode string (i.e. hyperlink)

using the camera application residing in the portable electronic device (i.e., Smartphone). For

example, the Smartphone decodes the QR code on the object image captured from the Smartphone

camera to obtain a decoded hyperlink. See Exhibit B.

       25.     As recited in another step of Claim 1, the system, at least in internal testing and

usage, utilized by the Accused Product practices sending the decode string to a remote server for

processing. Namely, Defendant sends the decoded string to a remote server for processing. For

example, the Smartphone sends the information associated with the QR code to Firehouse-Subs

server. See Exhibit B.

       26.     As recited in another step of Claim 1, the system, at least in internal testing and

usage, utilized by the Accused Product practices receiving information about the object from the

remote server wherein the information is based on the decode string of the object. Namely, after

clicking on the hyperlink that is obtained by scanning the QR code associated with the Firehouse-



                                                 5
              Case 1:21-cv-00226-LY Document 1 Filed 03/11/21 Page 6 of 9




Subs website, the smartphone receives the information and directly go to the website of Firehouse-

Subs. See Exhibit B.

        27.     As recited in another step of Claim 1, the system, at least in internal testing and

usage, utilized by the Accused Product practices displaying the information on a display device

associated with the portable electronic device. Namely, Defendant sends the decode string to a

remote server for processing. The information is received and it is displayed on the display

associated with the Smartphone. See Exhibit B.

        28.     The elements described in the preceding paragraphs are covered by at least Claim

1 of the ‘752 Patent. Thus, Defendant’s use of the Accused Product is enabled by the method

described in the ‘752 Patent.

                           INFRINGEMENT OF THE ‘752 PATENT

        29.     Plaintiff realleges and incorporates by reference all of the allegations set forth in

the preceding paragraphs.

        30.      In violation of 35 U.S.C. § 271, Defendant is now, and has been directly infringing

the ‘752 Patent.

        31.     Defendant has had knowledge of infringement of the ‘752 Patent at least as of its

receipt of Plaintiff’s letter dated July 20, 2020.

        32.      Defendant has directly infringed and continues to directly infringe at least one

claim of the ‘752 Patent by using, at least through internal testing or otherwise, the Accused

Product without authority in the United States, and will continue to do so unless enjoined by this

Court. As a direct and proximate result of Defendant’s direct infringement of the ‘752 Patent,

Plaintiff has been and continues to be damaged.




                                                     6
             Case 1:21-cv-00226-LY Document 1 Filed 03/11/21 Page 7 of 9




       33.       Defendant has contributed and induced others to infringe the ‘752 Patent by

encouraging infringement, knowing that the acts Defendant induced constituted patent

infringement, and its encouraging acts actually resulted in direct patent infringement.

       34.       By engaging in the conduct described herein, Defendant has injured Plaintiff and is

thus liable for infringement of the ‘752 Patent, pursuant to 35 U.S.C. § 271.

       35.       Defendant has committed these acts of infringement without license or

authorization.

       36.       As a result of Defendant’s infringement of the ‘752 Patent, Plaintiff has suffered

monetary damages and is entitled to a monetary judgment in an amount adequate to compensate

for Defendant’s past infringement, together with interests and costs.

       37.       Plaintiff will continue to suffer damages in the future unless Defendant’s infringing

activities are enjoined by this Court. As such, Plaintiff is entitled to compensation for any

continuing and/or future infringement up until the date that Defendant is finally and permanently

enjoined from further infringement.

       38.       Plaintiff reserves the right to modify its infringement theories as discovery

progresses in this case; it shall not be estopped for infringement contention or claim construction

purposes by the claim charts that it provides with this Complaint. The claim chart depicted in

Exhibit B is intended to satisfy the notice requirements of Rule 8(a)(2) of the Federal Rule of

Civil Procedure and does not represent Plaintiff’s preliminary or final infringement contentions

or preliminary or final claim construction positions.

                                  DEMAND FOR JURY TRIAL

       39.       Plaintiff demands a trial by jury of any and all causes of action.




                                                   7
              Case 1:21-cv-00226-LY Document 1 Filed 03/11/21 Page 8 of 9




                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiff prays for the following relief:

          a. That Defendant be adjudged to have directly infringed the ‘752 Patent either literally

or under the doctrine of equivalents;

          b. An accounting of all infringing sales and damages including, but not limited to, those

sales and damages not presented at trial;

          c. That Defendant, its officers, directors, agents, servants, employees, attorneys, affiliates,

divisions, branches, parents, and those persons in active concert or participation with any of them,

be permanently restrained and enjoined from directly infringing the ‘752 Patent;

          d. An award of damages pursuant to 35 U.S.C. §284 sufficient to compensate Plaintiff for

the Defendant’s past infringement and any continuing or future infringement up until the date that

Defendant is finally and permanently enjoined from further infringement, including compensatory

damages;

          e. An assessment of pre-judgment and post-judgment interest and costs against

Defendant, together with an award of such interest and costs, in accordance with 35 U.S.C. §284;

          f. That Defendant be directed to pay enhanced damages, including Plaintiff’s attorneys’

fees incurred in connection with this lawsuit pursuant to 35 U.S.C. §285; and

          g. That Plaintiff be granted such other and further relief as this Court may deem just and

proper.




                                                    8
          Case 1:21-cv-00226-LY Document 1 Filed 03/11/21 Page 9 of 9




Dated: March 10, 2021                      Respectfully submitted,

Together with:                             KIZZIA & JOHNSON, PLLC

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                                       9
